     Case 2:10-md-02179-CJB-DPC Document 65-2 Filed 08/24/10 Page 1 of 2




                           U N ITED STATES DISTRICT CO U R T
                           EASTER N DISTRICT O F LO U ISIAN A

                                        : M DL N O .2179
                                        :
IN R E: O ILSPILLb ythe O ILR IG        :
        "DEEPWATER H O R IZO N " in the :
        G U LF O F M EXICO ,on          : SECTIO N :J
        APR IL20,2010                   :
                                        :
                                        :
                                        : JU DG EBAR BIER
                                        : M AG.JU DG ESH U SHAN
                                        :
................................................................

THIS DO CU M EN T RELATES TO CASEN O .10-2087


                                  N O TICEO F H EAR IN G

       PLEASETAKEN O TICEtha tthe M otion to Re m a nd file d b yon b e ha lf of t
                                                                                 he State

of Louisia na ,b y a nd throug h,John F.Rowle y,the St
                                                     .Be rna rd Pa rish DistrictAt
                                                                                 torne y,

willb e he a rd on W e d ne sd a y,Se pte m b e r29,2010a t9:
                                                            30a .
                                                                m .b e fore the H onora b le Ca rlJ.

Ba rb ie r,U nited StatesDistrictJud g e ,a tthe U nited StatesDistrictCourtforthe Ea stern

Districtof Louisia na .




                                                                                            158762.1
     Case 2:10-md-02179-CJB-DPC Document 65-2 Filed 08/24/10 Page 2 of 2




                                            Re spe c tfullysub m itted ,

                                            /s/ Peter J. Butler, Jr.
                                            Pe terJ.Butle r,Jr.(Ba r#18522)
                                            Richa rd G.Pa ssle r(Ba r#21006)
                                            Ba rrettR.Stephe ns(Ba r#31331)
                                            Justin W .Stephe ns(Ba r#30987)
                                            BR EAZEALE,SACHSE& WILSO N ,L.     L.
                                                                                P.
                                            909 Poyd ra sStree t   ,Suite 1500
                                            N e w O rle a ns,Louisia na 70112
                                            Te le phone :(504) 584-   5454
                                            Fa c sim ile :(504) 584- 5452

                                            Appointed Counselb y DistrictAttorneyforthe
                                            Pa rish of St.Berna rd ,Sta te of Louisia na




                                            John F.Rowle y(Ba r#02245)
                                            1101 W .St    .Be rna rd H ig hwa y
                                            P.O .Box 947
                                            Cha lm e tte,Louisia na 70044-    0947
                                            Te le phone :(504) 271-   1811
                                            Fa c sim ile :(504) 279- 2874

                                            DistrictAttorneyforthe Pa rish of St.Berna rd




                                 CERTIFICATEO F SER V ICE

       Ihe reb yc e rtifytha ton Aug ust24,2010,Ie le c tronic a llyfile d the fore g oing with the

Cle rk of Courtb y using the CM /ECF syste m whic h willse nd a notice of e le c tronic filing

to a llCM /ECF pa rticipa nts.


                                            /s/ Peter J. Butler, Jr.




                                                2                                            158762.1
